case 2:05-cr-200129-sss mms$m§le@li%?y<§&/@§ <R;U@rl 01‘2 PaQelD 37
FOR THE WESTERN DISTRICT OF TENNESSEE

 

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v. No. 05-20029-02-1)1_‘|_@-;._1£ .:;‘.:;:3

   

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ORDER CONTINUING ARRAIGNMENT AND
SPECIFYING PERIOD OF EXCLUDABLE DELAY UNDER THE SPEEDY TRIAL ACT

 

The Defendant’s counsel has notified the Court that in the
interests of justice that this matter be continued. Pursuant to
the Speedy Trial Act, as set in 18 U.S.C. §3161(h)(8)(A),
defendant’s period of excludable delay may be granted if the ends
of justice are served.

The Arraignment is therefore continued and reset to Wednesday,
Anggst 3l 2005 @ 10:00a.m. in Courtroom M-B, 9th fl. , Federal
Building, 167 N. Main Street, Memphis, Tennessee.

lt is therefore ORDERED that the time period of 7¢27¢05
through, 8[2[05 be excluded from the time its imposed by the
Speedy Trial Act for trial of this case, due to the interests of

justice.

-Pk
This ng day of July, 2005. _
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Diane K. Vescovo
UNITED S'I'ATES MAGISTR.ATE JUDGE

Thls document entered on the docket sheet |n compliance
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Notice of Distribution

This notice confirms a copy of the document docketed as number 40 in
case 2:05-CR-20029 Was distributed by faX, mail, or direct printing on
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Camille Reese McMullen
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Charles E. Waldman
WALDMAN & ASSOCIATES
200 Jefferson Ave.

Ste. 210

i\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

